Case 1:04-cv-07280-GBD-SN Document 535-1 Filed 04/01/19 Page 1 of 3




            Exhibit 1
      Case 1:04-cv-07280-GBD-SN Document 535-1 Filed 04/01/19 Page 2 of 3




                   MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                         In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

   Plaintiffs’ Executive Committee for Personal                    Plaintiffs’ Executive Committee for
              Injury and Death Claims                                      Commercial Claims
 Ronald L. Motley, (1944-2013)                                Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs       Sean Carter, Co-Chair
 MOTLEY RICE LLC                                              COZEN O’CONNOR
 James P. Kreindler, Co-Chair
 KREINDLER & KREINDLER LLP
 Andrew J. Maloney III, Co-Liaison Counsel                    J. Scott Tarbutton, Liaison Counsel
 KREINDLER & KREINDLER LLP                                    COZEN O’CONNOR
 Robert T. Haefele, Co-Liaison Counsel
 MOTLEY RICE LLC
                                                   VIA E-MAIL

January 25, 2019

Omar T. Mohammedi, Esq.                                   Frederick J. Goetz, Esq.
Law Firm of Omar T. Mohammedi, LLC                        Goetz & Eckland
233 Broadway, Suite 820                                   615 1st Avenue NE
Woolworth Building                                        Suite 425
New York, NY 10279                                        Minneapolis, MN 55413

        RE:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Omar and Fred:

       On behalf of the Plaintiffs’ Executive Committees (“PECs”), and pursuant to the Court’s
January 15, 2019 Opinion and Order directing the PECs to “provide WAMY with a list of no
more than 10 branch offices (including offices in Saudi Arabia) that the PECs believe have
provided inadequate documentation regarding their bank accounts” (ECF No. 4350, p. 7), I write
to provide you with the following list of WAMY offices:

    1. WAMY’s Mecca Province office in Jeddah, Saudi Arabia.

    2. WAMY’s Medina Province office in Medina, Saudi Arabia.

    3. WAMY’s Eastern Province office in Dammam, Saudi Arabia.

    4. WAMY’s Southern Province office in Abha, Saudi Arabia.

    5. WAMY’s branch office in Peshawar, Pakistan.

    6. WAMY’s branch office in Kashmir (India).

    7. WAMY’s branch office in Azerbaijan.
       Case 1:04-cv-07280-GBD-SN Document 535-1 Filed 04/01/19 Page 3 of 3

Omar T. Mohammedi, Esq.
Frederick J. Goetz, Esq.
January 25, 2019
Page 2
____________________

      8. WAMY’s branch office in Sudan.

      9. WAMY’s branch office in the United States.

      10. WAMY’s branch office in Canada.

       The PECs intended to provide you with the aforementioned list of WAMY branch offices
on Tuesday, January 22, but travel schedules of several members of the PECs, including those
members participating in depositions in Madrid this week, made it difficult to confer and finalize
the PECs’ list. Please let us know if you have any questions.

                                             Sincerely,

                                             COZEN O’CONNOR




                                             By:      J. Scott Tarbutton, on behalf of the PECs


cc:      Members of Plaintiffs’ Executive Committees (via E-Mail)



LEGAL\39734904\1
